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 7

 8
                              UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10

11   PETER KREDENSER,                              Case No.: '17CV2552 LAB NLS
12                   Plaintiff,
13                                                 COMPLAINT FOR DIRECT AND
                v.                                 SECONDARY COPYRIGHT
14
                                                   INFRINGEMENT
15   SHARETV, INC., A NEVADA
     CORPORATION, “KATIEBAR,” AND DEMAND FOR JURY TRIAL
16   DOES 1-20
17
                     Defendants.
18

19

20         Plaintiff, PETER KREDENSER, (“Kredenser” or “Plaintiff”) by and
21   through his attorneys of record, files this Complaint against Defendants
22   SHARETV, INC., a Nevada Corporation (“ShareTV”), “KATIEBAR” and DOES
23   1-20 (collectively, “Defendants”) as follows:
24                                    I.     THE PARTIES
25         1.        Plaintiff is an acclaimed and sought-after editorial/advertising
26   professional photographer who is well known in the entertainment industry. Many
27   of Plaintiff’s images, including those at issue in this action, are of iconic actors,
28   television shows, or movies.

                                             1
                COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
           2.     Plaintiff’s photographs are copyrighted images to which he owns all
 2
     rights and title. Plaintiff has at all relevant times resided within the County of Los
 3
     Angeles.
 4
           3.     Defendant ShareTV is a Nevada corporation that is headquartered
 5
     and based in San Diego, California. ShareTV is a for profit corporation that
 6
     asserts it attracts approximately 3 million visitors per month and currently has
 7
     over half a million registered users. Visitors to ShareTV can watch episodes of
 8
     television series, view and upload clips and images of television shows, and
 9
     participate in discussion forums among other interactive online actions.
10
           4.     Plaintiff is informed and believes that ShareTV and its agents operate,
11
     manage, curate, moderate, and edit the website www.sharetv.com, an interactive
12
     entertainment website to promote ShareTV’s entertainment offerings and
13
     otherwise attract viewers to its website. Plaintiff is informed and believes that
14
     ShareTV generates revenue based upon the number of users, viewers, views, and
15
     sustained activity and engagement by viewers on its website through
16
     advertisements it displays to visitors, pay-per click advertising, views, and
17
     solicitations to advertisers to pay it directly for such, or indirectly through Google
18
     Adwords or Adsense type advertising campaigns.
19
           5.     Plaintiff is unaware of the true name of the defendant “Katiebar” who
20
     is a member on ShareTV, and which ShareTV after screening her, has empowered
21
     as a moderator who acts with actual, implied and ostensible authority and agency
22
     for ShareTV on the platform, including through the uploading of images,
23
     communicating with users, and approving and editing the site. Plaintiff is
24
     informed and believes that Katiebar has been a member of ShareTV since January
25
     31, 2013, and has posted over 8,000 times on ShareTV who has had actual and
26
     constructive knowledge of her posts. ShareTV has ratified, authorized or
27
     consented to the conduct of its moderators, so-called “Gurus” and their posts.
28


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                COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
           6.     Plaintiff does not presently know the true names and capacities of the
 2
     defendants named as Does 1 through 20 and therefore sues such defendants by
 3
     these fictitious names. Plaintiff believes that the Doe Defendants are persons or
 4
     entities who are involved in the acts set forth below, either as direct infringers,
 5
     secondary infringers, independent contractors, agents, or employees of the known
 6
     defendants, or through entering into a conspiracy and agreement with the known
 7
     Defendants to perform these acts, for financial gain and profit, in violation of
 8
     Plaintiff's rights. Plaintiff will request leave of Court to amend this Complaint to
 9
     set forth their true names, identities and capacities when Plaintiff ascertains them.
10
     The Doe defendants and the known identified Defendants are referred to
11
     hereinafter collectively as "Defendants."
12
           7.     Plaintiff is informed that the Doe Defendants have been or are the
13
     principals, officers, directors, agents, employees, representatives, and/or co-
14
     conspirators of each of the other defendants, and in such capacity or capacities
15
     participated in the acts or conduct alleged herein and incited liability therefore. At
16
     some unknown time, the Defendants, or some of them, entered into a conspiracy
17
     with other of the Defendants to commit the wrongful acts described herein. The
18
     actions described below were taken in furtherance of such conspiracy. Plaintiff is
19
     informed and believes that the Defendants aided and abetted each other in the
20
     wrongful acts alleged herein and that each of the Defendants acted for personal
21
     gain or in their own financial benefit of their own financial advantage in doing the
22
     acts alleged below.
23
                           II.    JURISDICTION AND VENUE
24
           8.     This action is for damages and preliminary and permanent injunctive
25
     relief arising from Defendants’ copyright infringements in violation of the United
26
     States Copyright Act of 1976, 17 U.S.C § 101 et. seq. (the “Copyright Act”). This
27
     action arises under the provision of the Copyright Act of the United States, as
28


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                COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
     amended, 17 U.S.C §§ 106 & 501 and is for infringement of copyrights registered
 2
     with the Copyright Office of the United States.
 3
           9.       Subject Matter Jurisdiction. This action arises under the Copyright
 4
     Act, 17 U.S.C. § 101, et seq. This Court has original subject matter jurisdiction
 5
     over all claims pursuant to 28 U.S.C. § 1331 and§ 1338(a). The court also has
 6
     subject matter jurisdiction over the state claims under 28 U.S.C. § 1367 as they
 7
     are so related to the copyright claims that they form part of the same case or
 8
     controversy action
 9
           10.      Venue. Venue is proper in this Court pursuant to 28 U.S.C. §1391(b)
10
     and (c) and § 1400(a).
11
            11.     Personal Jurisdiction. Plaintiff is informed and believes that
12
     personal jurisdiction is proper over the Defendants because they either reside in
13
     California or the wrongful activity at issue concerns Defendants' operation of
14
     commercial businesses through which Defendants regularly and systematically,
15
     knowingly solicit, transact business and enter into contracts with individuals in
16
     California, including within the County of San Diego. Plaintiff is further
17
     informed and believes that the Defendants after obtaining actual or constructive
18
     knowledge that their activities would cause harm to Plaintiff in California
19
     continued in their activities and knowingly caused harm to Plaintiff in California,
20
     including but not limited to causing the infringements to occur and be distributed
21
     to persons in California and the County of Los Angeles.
22
                              III.   FACTUAL ALLEGATIONS
23
           12.      Plaintiff incorporates by reference each allegation contained in the
24
     foregoing paragraphs of this Complaint as if fully set forth herein.
25
           13.      Plaintiff created the two (2) photographs at issue in this case and
26
     registered them with the United States Copyright Office with the following group
27
     registration number and name: VA 1-30-756, Moonlighting (collectively, the
28


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                  COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
     Case 3:17-cv-02552-LAB-NLS Document 1 Filed 12/22/17 PageID.5 Page 5 of 20


 1
     “Photographs”). Exemplars of the photographs as used and displayed by ShareTV
 2
     are shown in Exhibit “1” attached hereto and incorporated by reference.
 3
           14.     Plaintiff was issued a Certificate of Registration for the registered
 4
     Photographs. The Photographs consist of material original to Plaintiff and each is
 5
     copyrightable subject matter entitled to copyright protection. Plaintiff is the owner
 6
     of all right, title, and interest in and to the Photograph.
 7
           15.     Plaintiff is informed and believes that the Defendants, including
 8
     ShareTV, own, manage, and control the commercial website www.sharetv.com
 9
     (the “Website”).
10
           16.     Plaintiff personally took the Photographs of the cast of the television
11
     show “Moonlighting.” Plaintiff was never an employee of ABC Network. The
12
     Photographs were not works for hire.
13
           17.     As the sole owner of the copyrighted Photographs, Plaintiff holds the
14
     exclusive rights to reproduce, publicly distribute, and display the Photographs
15
     pursuant to 17 U.S.C. § 106 and 501.
16
           18.     Plaintiff incurred substantial time and expense in creating the
17
     Photographs.
18
           19.     Under the Copyright Act, 17 U.S.C. §101, et seq., Plaintiff has the
19
     distinct, severable, and exclusive rights, inter alia, to reproduce, distribute and
20
     publicly display the Photographs. (17 U.S.C. §§ 106(1), (3), (5) and 501.)
21
           20.     Within the last three years, Defendants without Plaintiff’s consent or
22
     a license to do so copied/reproduced, uploaded/downloaded, or caused to be
23
     uploaded/downloaded, publicly displayed, and distributed the Photographs on the
24
     Website in multiple locations.
25
           21.      Within the last three years, Plaintiff (through his representative)
26
     discovered that the Photographs had been unlawfully and without permission been
27
     copied, uploaded, publicly displayed, offered for distribution, and distributed by
28


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                 COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
     Defendants, inter alia, to and through the Websites, controlled and operated by
 2
     Defendants, including ShareTV.
 3
           22.     Plaintiff is informed and believes that in and around 2015,
 4
     Defendants prominently copied/reproduced, uploaded/downloaded, publicly
 5
     displayed and distributed the Photograph when it added the Photograph as the
 6
     primary/main photograph for the Moonlighting “page” on the Website and the
 7
     character David Addison.
 8
           23.     Plaintiff is informed and believes that he could not have discovered
 9
     the infringing conduct prior to Defendants altering and uploading the
10
     Moonlighting page as described above and that his lack of knowledge of the
11
     infringing activity until that moment was reasonable.
12
           24.     Plaintiff is informed and believes that the Photographs were used to
13
     support and promote Defendants’ Website and all services, offers, promotions,
14
     discussion boards, and community groups offered therein.
15
           25.     Upon discovery and thereafter, Plaintiff (through his authorized
16
     representative) provided actual notice to ShareTV, including providing the
17
     information that Plaintiff was the copyright owner of the Photograph, Plaintiff’s
18
     residence was within Los Angeles, and the URLs where the Photographs were
19
     being infringed.
20
           26.     The Website was not protected by the DMCA when the notice of
21
     infringement was sent.
22
           27.     Within the last three years, Plaintiff discovered that Defendants have
23
     unlawfully copied, displayed, and distributed his registered Photograph without a
24
     license or consent on its commercial Website.
25
           28.     Plaintiff is informed and believes that Defendants, without
26
     authorization or permission from Plaintiff, unlawfully copied/reproduced,
27
     uploaded/downloaded, or caused to be uploaded/downloaded, publicly displayed,
28


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                 COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
     and distributed the Photographs to a global audience on the World Wide Web via
 2
     the Websites.
 3
           29.     The Photographs were clearly displayed as advertisement images for
 4
     the Moonlighting television show webpages on the Website. ShareTV used these
 5
     images to advertise its airing of the television show.
 6
           30.     Plaintiff is informed and believes that Defendants commenced use of
 7
     the Photographs after the Photographs were registered with the United States
 8
     Copyright Office.
 9
           31.     At all relevant times, Defendants did not have a license or permission
10
     to use, display, distribute, copy, and/or reproduce the Photographs.
11
           IV.    FIRST CLAIM FOR RELIEF FOR DIRECT COPYRIGHT
12
              INFRINGEMENT PURSUANT TO 17 U.S.C. §§ 106 and 501
13
                                   (Against All Defendants)
14
        32. Plaintiff incorporates by reference each allegation contained in the
15
     foregoing paragraphs of this Complaint as if fully set forth herein.
16
        33. Plaintiff owns all rights, titles, and interest in and to the copyright for the
17
     Photograph, the use of which has never been licensed to Defendants.
18
        34. Under Section 106 of the Copyright Act, as amended, 17 U.S.C. §§ 106
19
     and 501 et. seq., Plaintiff has the distinct, severable, and exclusive rights, inter
20
     alia, to reproduce, distribute, and publicly display the Photograph.
21
        35. Within the last three years, Plaintiff discovered that Defendants, without
22
     Plaintiff's permission, consent or authority, copied/reproduced,
23
     uploaded/downloaded, or caused to be uploaded/downloaded, publicly displayed,
24
     and distributed, or made available for distribution, and/or facilitated the
25
     unauthorized distribution of the Photographs on the Website (and all related
26
     URLs) and potentially other locations, including all mobile or
27
     equivalent/alternative means of internet electronic display/distribution.
28


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                 COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
        36. Plaintiff is informed and believes that the Photographs were uploaded by
 2
     Defendant Katiebar and thereafter ShareTV personnel and Defendants approved,
 3
     ratified and consented to Katiebar doing such. Defendants have continued to
 4
     distribute, and publicly display the Photographs to their users among others.
 5
        37. Defendants have misappropriated Plaintiff’s copyrights in the Photographs
 6
     through the copying/reproducing, uploading/downloading or causing to be
 7
     uploaded/downloaded, display, publication, and/or distribution of the images on
 8
     the Website.
 9
        38. Defendants misappropriated Plaintiff’s copyright in the Photographs with
10
     actual and/or constructive knowledge that the Photograph at issue did not belong
11
     to Defendants; and that Defendants did not have consent and/or a license to use
12
     the Photographs in the manner in which it was used. Defendants thereby willfully
13
     engaged in unauthorized use, copying, distribution, and/or display of Plaintiff’s
14
     copyrighted Photographs.
15
        39. Plaintiff is informed and believes that Defendants' acts of infringement
16
     were ongoing, willful, intentional, and purposeful, and/or with reckless disregard
17
     of and indifference to Plaintiff’s rights because Defendants knew or recklessly
18
     failed to know that they did not have the right to use the Photographs in the
19
     manner in which they did.
20
           40.      Plaintiff is informed and believes that Defendants’ unlawful
21
     copying/reproduction, uploading/downloading, or causing to be
22
     uploaded/downloaded, public display, and distribution of the Photographs to a
23
     global audience on the World Wide Web via the Website constitutes direct
24
     copyright infringement.
25
        41. Defendants’ acts constitute willful direct copyright infringement in
26
     violation of Sections 106 and 501 of the Copyright Act (17 U.S.C. sections 106 et.
27
     seq. and 501 et. seq.)
28


                                              8
                 COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
     Case 3:17-cv-02552-LAB-NLS Document 1 Filed 12/22/17 PageID.9 Page 9 of 20


 1
        42. Defendants’ willful infringements have caused irreparable damage to
 2
     Plaintiff for which he has no adequate remedy of law.
 3
        43. Defendants’ unlawful use of copies of Plaintiff’s original Photographs has
 4
     diminished the value of the original Photographs by distributing and encouraging
 5
     redistribution of the Photographs without identify them as being the exclusive
 6
     property of Plaintiff.
 7
        44. Defendants’ unlawful acts have interfered with and undermined Plaintiff’s
 8
     ability to market Plaintiff’s own original Photographs, thereby impairing the value
 9
     and prejudicing the sale or license by Plaintiff of his own photographic work.
10
        45. As a direct and proximate result of Defendants' infringement, Plaintiff was
11
     damaged and is entitled to his actual damages and Defendants' profits pursuant to
12
     17 U.S.C. §504(b). Alternatively, at Plaintiff’s election, Plaintiff is entitled to the
13
     maximum statutory damages pursuant to 17 U.S.C. §504(c) with respect to each
14
     work infringed or such other amounts as maybe proper under 17 U.S.C. §504(c).
15
     Plaintiff is entitled to attorneys' fees and costs pursuant to 17 U.S.C. §505.
16
        46. Plaintiff is entitled to a preliminary and permanent injunction restraining
17
     Defendants from engaging in further acts of copyright infringement and causing
18
     irreparable damage to Plaintiff, for which he has no adequate remedy of law.
19
       V.    SECOND CLAIM FOR RELIEF FOR SECONDARY COPYRIGHT
20
                              INFRINGEMENT OF THE PHOTOGRAPH
21
                (Contributory, Vicarious, and Inducement Infringement)
22
                    (Against Defendant ShareTV and Doe Defendants)
23
        47. Plaintiff incorporates by reference each allegation contained in the
24
     foregoing paragraphs of this Complaint as if fully set forth herein.
25
        48. Plaintiff is informed and believes that ShareTV and Doe Defendants have
26
     had actual or constructive knowledge (including by virtue of the nature of the
27
     materials, cease and desist communications, and other sources of knowledge) of
28
     the infringing activity on its site, including that its users, moderators (including

                                             9
                COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
     “Katiebar”) and others had engaged in repeated instances of infringing activity.
 2
     Plaintiff is informed and believes that ShareTV has willfully turned a blind eye to
 3
     the infringing conduct rampant on its Website.
 4
        49.Plaintiff is informed and believes that Defendant ShareTV and the
 5
     Defendants had the capacity and opportunity to control the images
 6
     copied/reproduced, uploaded/downloaded, publicly displayed, and distributed on
 7
     the Website and continue to have such capacity.
 8
        50.Defendant ShareTV has, and has had, the right and ability to control
 9
     infringing conduct that occurred or is occurring on the Website and has reasonable
10
     and simple effective means of removing or disabling access to infringing images
11
     copied/reproduced, uploaded/downloaded, publicly displayed, and distributed on
12
     the Website.
13
        51. Plaintiff is informed and believes that Defendant ShareTV is the dominant
14
     influence on the activities of Defendants; that it has the power to control their
15
     actions involved in the infringing activities herein, determined the policies which
16
     resulted in the infringement and otherwise acted, consented, directed or ratified
17
     the infringing activity.
18
        52. Plaintiff is informed and believes that Defendant ShareTV obtained profit
19
     from its rampant copyright infringement on its Website and the activities alleged
20
     herein on the Website, including by acting as a draw to users and advertisers,
21
     including and/or attempted to and has derived, or have continuously attempted or
22
     intended to derive, a direct financial benefit from the infringing use of the
23
     Photographs.
24
        53.Plaintiff is informed and believes that Defendant ShareTV including
25
     through the acts of its agents, induced users/members of its Website to
26
     copy/reproduce, upload/download, publicly display, and distribute copies of
27
     Plaintiff’s copyrighted Photographs and engage in copyright infringement.
28


                                            10
                COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
        54. Plaintiff is informed and believes that Defendant ShareTV provides its
 2
     users with a service in which ShareTV encourages copyright infringement.
 3
     ShareTV provides its users with numerous guides regarding the copying,
 4
     uploading, downloading, distribution, and public displaying of images and
 5
     photographs on ShareTV which its users or agents obtain from other websites
 6
     without any license. One such guide instructs users explicitly that copying the
 7
     image from Google “is insufficient” “in most cases” and that users instead “should
 8
     go to the original site and rip the image from there.” ShareTV employs tools on its
 9
     user editing page that search Google and other search engines for images for its
10
     users to “rip,” which are obviously copyrighted images, without regard to license
11
     rights.
12
        55. Plaintiff is further informed and believes that the published best practices
13
     on ShareTV’s Website regarding the use of unauthorized images includes “get the
14
     biggest image possible…and crop it…and let our system reduce it.”
15
        56. Plaintiff is informed and believes that ShareTV incentivizes its users
16
     “ripping” images from other websites, and publishes, authorizes and ratifies
17
     guides teaching them how to do so, and counsel’s them on how to avoid getting
18
     caught.
19
        57. Plaintiff is informed and believes that ShareTV encouraged, solicited, and
20
     assisted users and its moderators to infringe copyrighted works for the benefit of
21
     its commercial Website. Defendant ShareTV performed these acts in order to
22
     enhance the value of the Website.
23
        58.On the Website, Defendant ShareTV promotes, at least, television shows
24
     released in the last 30 years through the present day, and includes television shows
25
     currently airing on national television and in syndication. Such television shows
26
     having been produced, distributed, advertised, and transmitted by major television
27
     networks and film studios, including, but certainly not limited to, ABC, NBC, and
28
     HBO and include such well-known entities and products that it would be

                                           11
               COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
     objectively obvious to ShareTV and any reasonable person that the material it
 2
     solicited and has published was copyrighted and not licensed to random members
 3
     of the public.
 4
        59. Plaintiff is informed and believes that Defendant ShareTV has failed in any
 5
     way to impose a process, filter, or other mechanism by which to prevent copyright
 6
     infringement on its Website despite the actual reasonable and constructive
 7
     knowledge that it is rampant.
 8
        60. Plaintiff is informed and believes that Defendant ShareTV generates
 9
     revenue from its Website based on advertisements and thus profits from increased
10
     traffic and activity on the Website, which is enhanced by the quality, number, and
11
     availability of the copyrighted images displayed on the Website.
12
        61. Defendant ShareTV is not entitled to protection from liability under the
13
     DMCA safe harbors provisions of 17 U.S.C § 512, for the infringements identified
14
     herein as, inter alia, ShareTV was not registered with the DMCA at the time
15
     infringement occurred.
16
        62. As a direct and proximate result of Defendants' failure and refusal to
17
     control and prevent the infringing activity, Defendants have infringed Plaintiff’s
18
     copyrights in the Photographs as set forth above. Defendants' conduct constitutes
19
     vicarious infringement of Plaintiff’s copyrights and exclusive rights under
20
     copyright in the Photograph in violation of the Copyright Act, 17 U.S.C. §106 and
21
     §501.
22
        63. Plaintiff is informed and believes that, by the actions alleged above,
23
     Defendants knowingly encouraged, assisted, enabled, induced, facilitated, caused,
24
     and/or materially contributed to each act of infringement, including but not limited
25
     to those downstream users that viewed and/or downloaded the images online.
26
        64.Defendants’ conduct constitutes contributory and inducement copyright
27
     infringement of Plaintiff’s exclusive rights in the Photographs, in violation of 17
28
     U.S.C. §§ 106 and 501.

                                            12
                COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
        65. As a direct and proximate result of Defendants' infringement, Plaintiff was
 2
     damaged. Plaintiff is entitled to his actual damages and Defendants' profits
 3
     pursuant to 17 U.S.C. §504(b). Alternatively, at Plaintiffs election, Plaintiff is
 4
     entitled to the maximum statutory damages pursuant to 17 U.S.C. § 504(c) with
 5
     respect to each work infringed or such other amounts as maybe proper under 17
 6
     U.S.C. § 504(c). Plaintiff is entitled to attorneys' fees and costs pursuant to 17
 7
     U.S.C. § 505.
 8
        66. Plaintiff is entitled to a preliminary and permanent injunction restraining
 9
     Defendants from engaging in further acts of copyright infringement and causing
10
     irreparable damage to Plaintiff, for which he has no adequate remedy of law.
11
                                    PRAYER FOR RELIEF
12
        WHEREFORE, Plaintiff prays for judgment against Defendants and each of
13
     them as follows:
14
        1. For Plaintiff’s actual damages and Defendants’ profits.
15
        2. For a full accounting under supervision of this Court of all profits, income,
16
           receipts, or other benefits derived by Defendants’ as a result of their willful
17
           and unlawful conduct.
18
        3. For statutory damages under the Copyright Act.
19
        4. For prejudgment interest.
20
        5. For preliminary and permanent injunctive relief from ongoing infringing
21
           activities, including, but not limited to:
22
               a. enjoining Defendants, and all persons acting in concert or
23
                  participation with them, from: directly or indirectly infringing in any
24
                  manner, or causing, contributing to, enabling, facilitating, or
25
                  participating in the infringement, of Plaintiff’s copyrights (whether
26
                  now in existence or hereafter created) or exclusive rights under
27
                  copyright, and
28


                                            13
                COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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 1
              b. the seizure of all property made in, or used to assist in the, violation
 2
                  of Plaintiffs exclusive copyrights pursuant to 17 U.S.C. §503,
 3
                  including, but not limited to, all copies of the Photograph, all
 4
                  domains and all servers and other computer equipment used to
 5
                  publish, broadcast or archive the Photograph.
 6
        6. For attorneys' fees and costs; and
 7
        7. For such other and further relief as this Court deems just and appropriate.
 8

 9
     Dated: December 21, 2017                   GAFNI & LEVIN LLP
10

11                                                By: /s/ Adam I. Gafni
12                                                Adam I. Gafni
                                                  Attorneys for Plaintiff
13                                                Peter Kredenser
14

15

16

17

18

19                            DEMAND FOR JURY TRIAL
20         Plaintiff hereby demands a trial by jury of any and all issues triable with
21   right by a jury pursuant to Rule 38 of the Federal Rules of Civil Procedure.
22

23   Dated: December 21, 2017                     GAFNI & LEVIN LLP
24

25                                                By: /s/ Adam I. Gafni
26                                                Adam I. Gafni
                                                  Attorneys for Plaintiff
27                                                Peter Kredenser
28


                                           14
               COMPLAINT FOR DIRECT AND SECONDARY COPYRIGHT INFRINGEMENT
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                   EXHIBIT 1
Madelyn 'Maddie' Hayes - Moonlighting Characters - ShareTV                                      http://sharetv.com/shows/moonlighting/cast/madelyn_maddie_hayes
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            !       "    #
                                                                                                     Search                       Browse    Schedule     Updates




                                                                      Moonlighting                                                          Type        Scripted
                                                                                                                                            Premiered   Mar. 03, 1985

                                                                      180 Fans            - Add to My Shows                                 Status      Canceled/Ended
                                                                                                                                            Runtime     60 min.
                                                                      The top model Maddie Hayes was betrayed by her                        Country     USA
                                                                      investment adviser who flew with all her money to
                                                                      South-America. All the unfaithful manager has left                    Network        Genre
                                                                      Maddie is her house, her unbelievable beauty and                                     - comedy
                                                                      intelligence and the run-down detective-agency "City                                 - drama
                                                                      Angels" (renamed to Blue Moon)                                                       - mystery
                                                                                                                                                           - romance



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             Main       Videos      Episode Guide            Characters           Updates           Discuss


           Characters: #2 of 4 (Full List)          Previous              Next
                                                                                                                                           The Rockford Files


                                                                                       Played by:
                                                                 10 Fans
                                 Madelyn 'Maddie' Hayes                                                Cybill Shepherd
                                 Add to My Characters                                                  Cybill Shepherd, former beauty
                                                                                                       queen and model, rebounded
                                                                                                       from a disastrous early career
                                                                                                       in motion pictures ...


                                                                                                                                           Remington Steele
           Character Bio
                                                        [No description found for this character]




                                                                                                                                           Castle




                                                                                                                                               Top Contributors




1 of 2                                                                                                                                                                  8/3/15 2:44 PM
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           Episode Screenshots




            Season 3, Episode 15    Season 2, Episode 10




            Season 5, Episode 03    Season 1, Episode 01
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                                                                            Previous: David Addison Jr.    Next: Agnes DiPesto




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2 of 2                                                                                                                                                      8/3/15 2:44 PM
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                                                              Moonlighting                                                                 Type          Scripted
                                                                                                                                           Premiered     Mar. 03, 1985

                                                              200 Fans            - Add to My Shows                                        Status        Canceled/Ended
                                                                                                                                           Runtime       60 min.
                                                              The top model Maddie Hayes was betrayed by her                               Country       USA
                                                              investment adviser who flew with all her money to
                                                              South-America. All the unfaithful manager has left                           Network          Genre
                                                              Maddie is her house, her unbelievable beauty and                                              - comedy
                                                              intelligence and the run-down detective-agency "City                                          - drama
                                                              Angels" (renamed to Blue Moon)                                                                - mystery
                                                                                                                                                            - romance



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      Main      Videos       Episode Guide           Characters           Updates           Discuss


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                                                                               Played by:
                                                         23 Fans
                         David Addison Jr.                                                     Bruce Willis
                         Add to My Characters                                                  Walter Bruce Willis (born March
                                                                                               19, 1955) is an American actor,
                                                                                               producer, and singer. His career
                                                                                               began ...

                                                                                                                                          Hardcastle & McCormick
   Character Bio
                                                [No description found for this character]




                                                                                                                                          Magnum, P.I.




                                                                                                                                          The Rockford Files
    Episode Screenshots




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     Season 4, Episode 07       Season 3, Episode 09


                                                                                                                     Quincy, M.E.




     Season 4, Episode 12       Season 1, Episode 01                                                                     Top Contributors
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                                                                                      Next: Madelyn 'Maddie' Hayes




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